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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer
                                                                  Index No. 20-CV-8924(CM)(GWG)
2020 Demonstrations


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                    DECLARATION OF COREY STOUGHTON IN SUPPORT
                         OF PLAINTIFFS’ MOTION TO COMPEL

         COREY STOUGHTON, a member of the Bar of New York and a member of the bar of

this Court, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as follows:

         1.       I am an attorney at The Legal Aid Society (LAS) and serve as counsel for the Payne

plaintiffs in this consolidated action. As such, I am fully familiar with the facts and circumstances

of this proceeding.

         2.       I submit this declaration in support of the plaintiffs’ motion to compel. Attached to

this declaration are documents referenced in plaintiffs’ memorandum of law in support of the

motion to compel.

         3.       Attached as Exhibit 1 to this declaration is a true and correct copy of the

Affirmation of Thomas Conforti, dated April 19, 2022.

         4.       Attached as Exhibit 2 to this declaration is a true and correct copy of the June 24

Conforti Privilege Log.

         5.       Attached as Exhibit 3 to this declaration is a true and correct copy of the April 19

Conforti Privilege Log.

         6.       Attached as Exhibit 4 to this declaration is a true and correct copy of the email

exchange between Plaintiffs and Defendants.
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       7.       Attached as Exhibit 5 to this declaration is a true and correct copy of the Conforti

Privilege Log Supplement, dated May 17, 2022.

       8.       Attached as Exhibit 6 to this declaration is a true and correct copy of the Second

Affirmation of Thomas Conforti, dated June 29, 2022.



I declare under penalty of perjury that the foregoing is true and correct.



 Dated: July 21, 2022
        New York, N.Y.
                                                      /s/ Corey Stoughton
                                                      Corey Stoughton
                                                      The Legal Aid Society
                                                      199 Water Street
                                                      New York, N.Y. 10038
                                                      (212) 577-3367
                                                      cstoughton@legal-aid.org

                                                      Attorney for Plaintiffs in 20 Civ. 8924




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